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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION



                 INDEX OF GOVERNMENT EXHIBITS


Exhibit   Description
A         NTC Complaint
B         October 20, 2014 Letter (without exhibits)
C         March 20, 2015 Letter
D         NTC Earnings, Expenditures & Reserve Balance Chart
E         September 2015 Unpublished Letter
F         October 20, 2014 Letter (with exhibits)
G         July 1, 2014 Draw Request
H         August 5, 2014 Draw Request
